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Attorney for Defendant



                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



UNITED STATES OF AMERICA,                              No. 3:18-cr-00367-MO-1

                                     Plaintiff,        DECLARATION OF COUNSEL IN
                                                       SUPPORT OF MOTION TO
                      v.                               CONTINUE TRIAL DATE

WILLIAM KATCHIA,

                                   Defendant.

       I, Bryan Francesconi, declare:

       1.       I represent William Katchia, who is charged with Aggravated Sexual Abuse and

Abusive Sexual Contact with a Child. Trial is currently set for June 8, 2021. I am requesting a

continuance to September 27, 2021 for a final trial date. The Government and counsel for the co-

defendant do not object to this request.

       2.       This is the seventh overall request to continue a trial date in this case by either the

defense or the government.

       3.       I took over the defense representation on this matter from Conor Huseby on March

6, 2019. Mr. Huseby has recently been assigned back onto this case as second chair for purposes



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of trial.

            4.       Mr. Katchia is out of custody and remains in compliance with pretrial supervision.

            5.       The defense expert on this case has finished her review and will be prepared for

trial.

            6.       COVID-19 remains an active threat in Oregon. Mr. Katchia is 60 years old, suffers

from diabetes, and is squarely within the vulnerable population for COVID-19. Throughout this

pandemic, Mr. Katchia has been concerned for his own safety and not wanted to expose himself

to the level activity required to prepare for and participate in a trial.1 At the same time, Mr.

Katchia’s defense team continues to primarily work remotely. While the current circumstances are

ultimately addressable, it has resulted in an overall slowing of the process. For these reasons, Mr.

Katchia is requesting a continuance.

            8.       Along with concern for Federal Public Defender staff having to participate in a trial,

counsel is also concerned about the effects that COVID-19 will have on the make-up of the jury

pool and on jurors’ attitudes toward the defense for seeking a trial during a global health crisis.

            10.      Defense counsel has spoken to Bear Wilner-Nugent, counsel for the co-defendant,

and understands he does not object to the continuance. Co-defendant Louise Katchia is out of

custody and in compliance with pretrial supervision.

            9.       In consultation with the Government, counsel Mr. Wilner-Nugent and the Court,

September 27, 2021 is the first available date that works for all parties for a trial of this length.

            10.      The failure to grant a continuance in this case would deny counsel for the defendant

the reasonable time necessary for effective preparation, taking into account the exercise of due

diligence. See 18 U.S.C. § 3161(h)(7)(A).


1
 Fortunately, Mr. Katchia very recently received his first vaccine shot and those concerns will soon be somewhat
alleviated.

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       11.     Defense counsel has spoken with Mr. Katchia, explained the reasons for requesting

a continuance, and the rights that he has under the Speedy Trial Act. Mr. Katchia agrees with

defense counsel’s request for a continuance and waives his rights under the Speedy Trial Act.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge and belief.

       Executed this 24th day of March 2021 in Portland, Oregon.



                                             /s/ Bryan Francesconi
                                             Bryan Francesconi
                                             Assistant Federal Public Defender




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